Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 1 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 2 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 3 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 4 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 5 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 6 of 7
Case 3:14-cr-00098-MCR   Document 400   Filed 04/13/15   Page 7 of 7
